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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION


UNITED STATES OF AMERICA                      §
                                              §
V.                                            §            NO. 1:12-CR-47-1
                                              §
TIMOTHY WAYNE HARRIS, JR.                     §
a/k/a “J” and                                 §
JERRY LEE EDWARDS                             §

                      REPORT AND RECOMMENDATION ON
                THE DEFENDANT’S COMPETENCY TO STAND TRIAL

       Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the United States District Court

for the Eastern District of Texas, this criminal proceeding is before the undersigned United

States magistrate judge. Before the court is the issue of the Defendant’s competency to stand

trial pursuant to 18 U.S.C. § 4241. The Defendant is charged in a First Superseding Indictment

on five counts: two violations of 18 U.S.C. § 2119, carjacking; two violations of 18 U.S.C. §

924(c)(1), brandishing a firearm in a crime of violence; and one violation of 18 U.S.C. § 2119,

conspiracy to commit a carjacking.

                                         I.       The Evidence

       On June 6, 2012, the court first ordered a psychiatric or psychological exam to determine

if the Defendant was suffering from a mental disease or defect rendering him mentally

incompetent to the extent he is unable to understand the nature and consequences of the

proceedings against him or to assist properly in his defense. (Docket No. 30.) The Defendant

subsequently received an evaluation by Tiffany K. Brown, Psy.D., Forensic Psychologist at the

Federal Detention Center in Los Angeles, California. Dr. Brown notes that Harris showed

limited cooperation with the evaluation process and an unwillingness to answer legally focused


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questions. Dr. Brown also found that that Harris has a poor understanding of the nature and

consequences of the court proceedings against him and an impaired ability to cooperate and

assist counsel in his defense, which suggest that he is not competent to stand trial.       The

accompanying letter from the Warden, L.R. Thomas, states that there is objective evidence to

indicate that Mr. Harris suffers from a mental disorder that significantly impairs his present

ability to understand the nature and consequences of the court proceedings against him, and his

ability to properly assist counsel in his defense. Docket No. 70. At a hearing on October 11,

2012, the court adopted Dr. Brown’s report and found Harris incompetent; Harris was

subsequently remanded to the custody of the Attorney General for continued psychological

treatment. Docket 36.

       From November 29, 2012 until March 29, 2013, Harris underwent four months of mental

health treatment to restore his competency to stand trial. Harris’s second competency report

detailing that treatment was filed on April 29, 2013, accompanied with a Certificate of

Competency signed by the Warden for the U.S. Medical Center for Federal Prisoners. This

report, completed by Lea Ann Preston Baecht, Ph.D., Forensic Psychologist at the U.S. Medical

Center for Federal Prisons in Springfield, Missouri, states that Harris has recovered to such an

extent that he is able to understand the nature and consequences of the proceedings against him

and can properly assist in the defense of claims brought against him in this case. Dr. Baecht

noted that Harris presents as largely uncooperative with the evaluation process and refused to

complete psychological testing or participate in competency-focused clinical interviews. Harris

arrived at the hospital taking anti-psychotic medication, but reported to Dr. Baecht that he did

not know when he began taking the medication or why it was prescribed. Dr. Baecht completed

a very thorough report describing Harris’s treatment and her ultimate findings. She determined



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that Harris is malingering, which is defined as “the intentional production of false or grossly

exaggerated physical or psychological symptoms, motivated by external incentives such as

avoiding military duty, avoiding work, obtaining financial compensation, evading criminal

prosecution, or obtaining drugs.” Docket No. 46, pg. 11. She cites to several factors as support

for her conclusion: 1.) that Harris’s onset of symptoms began after his arrest for the instant

offense, 2.) none of his friends or family members ever mentioned past or current mental illness

during phone calls with Harris, 3.) despite brief hospitalization for PCP intoxication, there is no

indication he ever experienced symptoms of psychosis prior to his arrest, and 4.) Harris exhibited

an inconsistent presentation across settings and situations, inconsistent with genuine mental

illness. Dr. Baecht notes that the strongest piece of information to support a diagnosis of

malingering is the content of Harris’s phone calls made during his stay at the facility.

Throughout these phone calls, Harris conversed in a clear and coherent manner with no display

or endorsement of symptoms of mental illness, and even expressed awareness that his behavior

during the current evaluation could extend his stay in the medical facility.

       On July 3, 2013, Harris filed an unopposed motion for psychiatric exam pursuant to 18

U.S.C. § 4241 (determination of mental competency to stand trial) and 18 U.S.C. § 4242

(determination of the existence of insanity of the Defendant at the time of the offense), which

was granted by the court. Docket No. 59. Ray Coxe, Ph.D. in Beaumont, Texas, examined

Harris on September 13, 2013 at the LaSalle Correctional Facility. Dr. Coxe reported that Harris

interrupted him and left the room without cooperating with the examination. Consequently, Dr.

Coxe could not form an opinion as to Harris’s competency.

       A competency hearing on the foregoing reports was held on October 8, 2013. At the

hearing, the Defendant appeared in court with counsel.            Neither party objected to the



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admissibility of the psychological report detailing the results and findings, and therefore, the

court admitted it into evidence under seal. As proof of Harris’s competency, the Government

introduced Exhibit 1, which consists of 167 pages of medical records from Harris’s four-month

examination and treatment, and Exhibit 2, which consists of a CD of eleven phone calls between

Harris and various family members. The Government summarized the content of the phone

calls, claiming they show the Defendant engaging in meaningful conversation about a variety of

topics.

          The Defendant offered no exhibits at the hearing, but his counsel, Gary Bonneaux, Esq.,

proffered details of their relationship, which Bonneaux claims has been strained because of

Harris’s pattern of uncooperativeness. Mr. Bonneaux stated that he has met with Harris nine

times since January 2013, and has never had effective communication because Harris walks

away and will not discuss the case.         Mr. Bonneaux reported that Harris is unfocused,

unresponsive, frustrated, and refuses to answer questions. Mr. Bonneaux also proffered details

of a conversation he had with Tim Harris, the Defendant’s father. Mr. Harris indicated that his

son, the Defendant, had been a promising student in high school, but had a noticeable behavioral

change at age 16. Mr. Harris indicated that this change might be attributable to drug use, and in

2010 the Defendant was committed to a drug rehabilitation facility and treated for marijuana and

PCP addiction. Mr. Harris does not think that his son understands the instant charges, and is not

faking incompetency. Mr. Bonneaux also called the Defendant to testify, but for the limited

purpose of establishing competency.        Harris refused to answer questions and despite the

opportunity to give a statement, chose to remain silent.




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                              II.    Standard of Review and Analysis

       The standard for determining competency is whether a preponderance of the evidence

establishes that the defendant has “sufficient present ability to consult with his lawyer with a

reasonable degree of rational understanding and whether he has a rational as well as factual

understanding of the proceedings against him.” Dusky v. United States, 362 U.S. 402, 402

(1960) (per curiam); see also United States v. Dockins, 986 F.2d 888, 892 (5th Cir. 1993)

(stating that the Government bears the burden of establishing a defendant’s competence by a

preponderance of the evidence); see also 18 U.S.C. § 4241(d) (Whether after the hearing the

court finds by a preponderance of the evidence that the defendant is presently suffering from a

mental disease or defect rendering him mentally incompetent to the extent that he is unable to

understand the nature and consequences of the proceedings against him or to assist properly in

his defense.)

       The first report (finding Harris incompetent) was based on limited information: Harris

was uncooperative with the evaluation process and unwilling to answer legally focused

questions, making it difficult for the doctor to fully assess his competency. Docket 34, pg. 13.

The second report was more comprehensive in that it incorporated additional factual information,

such as Harris’s phone calls, and the doctor had the benefit of a four-month evaluation, which

was significantly more comprehensive than previous or subsequent evaluations. Courts have

recognized that sustained evaluations in a Bureau of Prisons medical facility “provide the Court

with a more complete picture of the defendant’s mental competency” and “staff at these

institutions are familiar with the Dusky standard of mental competence.” United States v.

Weston, 36 F. Supp. 2d 7, 13–14 & n. 11 (D.D.C. 1999) (citing Featherston v. Mitchell, 418 F.2d

582, 586 (5th Cir. 1969)).



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       Harris’s four month forensic evaluation at the Springfield, Missouri facility was

significantly more comprehensive than previous or subsequent evaluations. Despite Harris’s

deliberate uncooperative behavior during this time with medical doctors, he did not appear as

mentally ill during his interactions with correctional staff, maintained good grooming, hygiene

and room cleanliness, and did not routinely engage in disruptive or bizarre behavior (except for

one verbal altercation). Id. Moreover, and perhaps most importantly, Harris was recorded

having meaningful telephone conversations with family members in which he discusses “going

through the process” to have his competency determined, and upcoming legal proceedings.

During these telephone calls, Harris engages in meaningful communication with family members

without difficulty, asks relevant questions, and responds appropriately.

       After reviewing the evidence presented by both sides and weighing the experts’

conclusions, the undersigned finds that the second medical report is more credible and reliable

for the reasons discussed above. Based upon the second psychiatric report and the evidence

presented at the hearing, the undersigned therefore concludes that the Defendant is able to

understand the nature and consequences of the proceedings against him and to assist properly in

his defense, and has sufficient present ability to consult with his attorney with a reasonable

degree of rational understanding. 18 U.S.C. § 4241(d); see also Dusky v. United States, 362 U.S.

402, 80 (1960).

                                        III.   Recommendation

       The court should find the Defendant competent to stand trial because he understands the

nature and consequences of the proceeding against him and is able to assist in his defense. See

18 U.S.C. § 4241. It is further recommended that the speedy trial time be excluded from June 6,




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2012, until the date on which the District Judge signs the order adopting this report and

recommendation.

       A party’s failure to file specific, written objections to the proposed findings of fact and

conclusions of law contained in this report, within fourteen (14) days of being served with a copy

of this report, bars that party from: (1) entitlement to de novo review by the United States District

Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275,

276–77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such

findings of fact and conclusions of law accepted by the United States District Judge, see

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, at 1428–29 (5th Cir. 1996) (en banc).



      SIGNED this 10th day of October, 2013.




                                                     _________________________
                                                     Zack Hawthorn
                                                     United States Magistrate Judge




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